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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7
      JASON MORANO,                                    CASE NO. 2:25-cv-00883-JHC
 8
                                                       ORDER DENYING PLAINTIFF’S EX
 9
                         Plaintiff,                    PARTE MOTION FOR EXPEDITED
                                                       DISCOVERY
10
             v.
11
      REDFIN CORPORATION ET AL.,
12
                       Defendants.
13

14
                                                    I
                                              INTRODUCTION
15
            This matter comes before the Court on Plaintiff’s Ex Parte Motion to Expedite Briefing
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     and Notation Date for Expedited Discovery Ahead of June 4 Vote. Dkt. # 3. Plaintiff Jason
17
     Morano asks the Court to grant expedited discovery to support his motion for a preliminary
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     injunction in which he asks the Court to enjoin a June 4, 2025 vote by Defendant Redfin
19
     Corporation’s shareholders to approve a merger. Dkt. # 23. The Court has reviewed the
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     materials filed in support of and in opposition to the motion, the record, and the governing law.
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     Being fully advised, the Court DENIES the motion.
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23

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 1                                                    II
                                               BACKGROUND
 2
            Redfin is a technology company that provides residential real estate brokerage and
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     mortgage origination services. Dkt. # 1 at 7, ¶ 29. In late 2024, Redfin’s Board of Directors and
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     management began discussing strategic alternatives. Dkt. # 17-1 (Proxy) at 6–7. Various parties
 5
     inquired into acquiring Redfin, including Defendant Rocket Companies, Inc., a financial
 6
     technology company and mortgage lender. Id.; Dkt. # 1 at 7–8, ¶ 30. On December 12, 2024,
 7
     Redfin’s Board established a committee of three independent directors (i.e., without conflicting
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     relationships with the parties interested in a transaction with Redfin) to oversee the Board’s
 9
     consideration of strategic alternatives. Proxy at 7. The independent committee engaged in due
10
     diligence of potential transactions with the aid of Goldman Sachs as a financial advisor. Id. at 8.
11
            On March 9, 2025, Redfin and Rocket executed a Merger Agreement. Id. at 16.
12
     Defendants say that under the Merger, Rocket would acquire Redfin’s outstanding shares for a
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     premium of about 63% over the volume weighted average price of Redfin’s common stock over
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     the 30 trading days before announcement of the Merger. Dkt. # 16 at 6; see also Proxy at 16.
15
     Morano contends that the premium has decreased by at least 16% since the Merger was
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     announced. Dkt. # 29 at 12. On May 5, 2025, Redfin filed its definitive proxy statement about
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     the Merger. Dkt. # 1 at 8, ¶ 33. Redfin’s shareholders will vote to approve the Merger on June
18
     4, 2025. Proxy at 16.
19
            On May 9, 2025, Morano filed a class action complaint against Defendants alleging
20
     violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934, 15 U.S.C.
21
     §§ 78n(a), 78t(a), and breach of fiduciary duty claims under Delaware law. Dkt. # 1. Morano
22
     then moved for a preliminary injunction to enjoin the June 4, 2025 shareholder vote, Dkt. # 23,
23
     and for expedited discovery to support his preliminary injunction motion, Dkt. # 3.
24

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 1          In his expedited discovery motion, Morano claims that Redfin’s proxy is misleading for

 2   two reasons. First, Morano contends that the proxy does not accurately reflect the extent of a

 3   possible conflict that Goldman Sachs might have in acting as Redfin’s financial advisor. He says

 4   that on July 2, 2024, Rocket entered into a Revolving Credit Agreement (the Revolver) that

 5   provided it with access to a $1.15 billion revolving credit facility funded in part by Goldman

 6   Sachs. Dkt. # 3 at 2–3 (citing SEC filings). Although Rocket would normally pay interest to

 7   Goldman Sachs based on outstanding balances under the Revolver, Rocket has not had an

 8   outstanding balance as of December 31, 2024. Id. at 3. But the Revolver nonetheless requires

 9   Rocket to pay commitment fees to Goldman Sachs. Id.

10          Morano takes issue with the proxy’s statements that “Goldman Sachs Investment

11   Banking has an existing lending relationship with Rocket and/or its subsidiaries,” and that

12   “[d]uring the two-year period ended March 9, 2025, Goldman Sachs Investment Banking has not

13   been engaged by Rocket or its affiliates to provide financial advisory or underwriting services for

14   which Goldman Sachs has recognized compensation.” Dkt. # 4 at 76 (emphasis added). He says

15   that based on this language, “it is unclear the extent to which Goldman Sachs has received and

16   continues to receive compensation from Rocket for lending services while simultaneously

17   serving as Redfin’s financial advisor in negotiations against Rocket in connection with the

18   Proposed Merger.” Dkt. # 3 at 2.

19          Second, Morano asserts that the proxy does not disclose inputs such as net operating loss

20   carryforwards (NOL Projections) that Goldman Sachs used in preparing a discounted cash flow

21   (DCF) analysis in support of its Fairness Opinion. Id. at 3. In support of both of his claims,

22   Morano seeks expedited discovery of the following:

23              •   Documents related to any and all sums (including fees and interest) that Rocket
                    has paid to Goldman Sachs since March 9, 2023, for lending services or any other
24                  services not already referenced in the Proxy.

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 1                 •   The Presentation or banker book for the fairness opinion from Goldman Sachs,
                       including the DCF Analysis.
 2
                   •   The NOL Projections
 3
     Id. at 4–5.
 4
                                                     III
 5                                               DISCUSSION

 6           The Private Securities Litigation Reform Act (PSLRA) “was enacted in 1995 in response

 7   to several perceived abuses in securities litigation, including discovery abuses.” Petrie v. Elec.

 8   Game Card, Inc., 761 F.3d 959, 966 (9th Cir. 2014) (quotation marks and citation omitted). In

 9   pertinent part, the PSLRA provides:

10           In any private action arising under this chapter, all discovery and other proceedings
             shall be stayed during the pendency of any motion to dismiss, unless the court finds
11           upon the motion of any party that particularized discovery is necessary to preserve
             evidence or to prevent undue prejudice to that party.
12
     15 U.S.C. § 78u-4(b)(3)(B). Although the provision states, “the pendency of any motion to
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     dismiss,” the discovery stay applies automatically “from the initial filing of the case” until “the
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     court has sustained the legal sufficiency of the complaint.” Eisner v. Meta Platforms, Inc., 2024
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     WL 2749433, at *3 (N.D. Cal. May 28, 2024) (quoting SG Cowen Sec. Corp. v. U.S. Dist. Ct. for
16
     N. Dist. of CA, 189 F.3d 909, 912–13 (9th Cir. 1999)). Because the Court has not yet tested the
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     legal sufficiency of Morano’s complaint, he may only seek particularized discovery that is
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     necessary to preserve evidence or prevent undue prejudice.
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             Even if the discovery that Morano seeks is “particularized,” he does not show that it is
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     necessary to preserve evidence or to prevent undue prejudice. He makes no argument that
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     without expedited discovery, he will lose access to the documents that he seeks. And “undue
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     prejudice” means “improper or unfair detriment” that is “something less than ‘irreparable
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     harm.’” Med. Imaging Centers of Am., Inc. v. Lichtenstein, 917 F. Supp. 717, 720 (S.D. Cal.
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 1   1996). This standard “appropriately attempts to balance the competing concerns of maintaining

 2   truth and integrity in the marketplace while curbing meritless litigation.” Id. at 721. Although

 3   Morano cites cases in which expedited discovery has been granted under this standard, he does

 4   not explain how expedited discovery is necessary to prevent undue prejudice here.

 5           Morano suggests that the undue prejudice he will suffer is that, as a shareholder, he will

 6   not be able to make an informed vote on the Merger. See Dkt. # 3 at 6 (citing Ryan v. Walton,

 7   2010 U.S. Dist. LEXIS 108618, at *7 (D.D.C. Mar. 9, 2010)). But he does not explain why

 8   expedited discovery is necessary to prevent such harm. His claims appear to be based on

 9   Defendants’ failure to disclose material information about Goldman Sachs’s relationship with

10   Rocket and Goldman Sachs’s DCF Analysis. See e.g., Dkt. # 1 at 9–10, 12 ¶¶ 36, 43. He does

11   not explain why he needs access to the exact amounts “committed by Goldman Sachs to Rocket

12   under the Revolver,” “the total aggregate amount paid by Rocket to Goldman Sachs under the

13   Revolver,” and specific numbers pertaining to Goldman Sachs’s DCF analysis to sufficiently

14   raise these claims in his motion for a preliminary injunction to enjoin the June 4, 2025

15   shareholder vote. 1 Dkt. # 3 at 3. To the contrary, he says that his preliminary injunction motion

16   as filed “demonstrates a likelihood of success on the merits.” Dkt. # 29 at 8. He only vaguely

17   says that expedited discovery will create a fuller record upon which the Court can adjudicate his

18   preliminary injunction motion. See id. at 10.

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             1
                Morano cites Nichting v. DPL Inc., 2011 WL 2892945, at *4 (S.D. Ohio July 15, 2011), in
20   which the court granted in part the plaintiff’s motion for expedited discovery as to certain financial
     projections because failure to disclose “unlevered free cash flows, or even the key inputs necessary to
21   reach free cash flows” would undermine a shareholder’s ability to make an informed vote on a merger.
     But that decision appears to conflate showing irreparable harm for purposes of a preliminary injunction
22   with showing that undue prejudice (similarly defined as something less than irreparable harm) warrants
     lifting the PSLRA’s stay on discovery. See id. at *4 & n.17 (citing cases involving temporary restraining
     orders and preliminary injunctions). Although showing irreparable harm for purposes of a preliminary
23   injunction can show that a plaintiff could suffer undue prejudice, the PSLRA requires the plaintiff to
     show that “discovery is necessary . . . to prevent undue prejudice.” 15 U.S.C. § 78u-4(b)(3)(B) (emphasis
24   added).

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 1          To be sure, it could be that knowing these exact values could help the Court assess the

 2   extent of Goldman Sachs’s relationship with Rocket or the significance of the omitted inputs

 3   pertaining to Goldman Sachs’s DCF analysis. But Morano does not carry his burden of showing

 4   that without these numbers, he will suffer undue prejudice by being disadvantaged in moving to

 5   enjoin the June 4, 2025 shareholder vote. Takiguchi v. MRI Int’l, Inc., 2013 WL 6528507, at *8–

 6   9 (D. Nev. Dec. 11, 2013) (it is the plaintiff’s burden to show undue prejudice). And merely

 7   being “informationally disadvantaged if discovery is not allowed” is not, without more, sufficient

 8   grounds to show undue prejudice. Eisner, 2024 WL 2749433, at *5.

 9          Thus, the Court does not lift the PLSRA’s stay on discovery. 2

10                                                     IV
                                                 CONCLUSION
11          For these reasons, the Court DENIES Morano’s ex parte motion for expedited discovery.
12          Dated this 20th day of May, 2025.
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                                                            a
15                                                          John H. Chun
                                                            United States District Judge
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              Because the Court concludes that the PSLRA’s stay on discovery applies, it does not reach the
     issue whether Morano’s ex parte motion for expedited discovery—to which Defendants responded—was
24   procedurally proper.

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